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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA                     )       CASE NO. 5:07-CR-0574
                                             )
                         PLAINTIFF,          )       JUDGE SARA LIOI
                                             )
vs.                                          )
                                             )       OPINION AND ORDER
CHEVALIEE G. ROBINSON,                       )
et. al.,                                     )
                                             )
                         DEFENDANTS.         )

                  This matter stems from a criminal forfeiture action with respect to the real

property located at 1376 Sorin Avenue, Akron, Ohio ("the Sorin Avenue property"), and,

specifically, this order arises from the repeated and unacceptable failures of Wells Fargo Bank

Minnesota NA ("Wells Fargo") with respect to the Sorin Avenue property.

      I.          FACTUAL AND PROCEDURAL HISTORY

                  The Court will only briefly recount the factual and procedural history of this

matter, which is fully set forth on the docket. Wells Fargo had a lien on the Sorin Avenue

property. As a result of a multi-defendant, multi-million dollar drug conspiracy, the Sorin

Avenue property was ordered forfeited to the government. The government sent notice of the

preliminary order of forfeiture to Wells Fargo as a party-in-interest. Wells Fargo replied, stating

it did not have an "account or other relationship for the subject party." Not true.

                  After this Court signed the final order of forfeiture including the Sorin Avenue

property, the government again sent notice to Wells Fargo, offered the bank an opportunity to

foreclose on the property, and even indicated the government's willingness to seek an order from

this Court for an order vacating the order of forfeiture as to the Sorin Avenue property if Wells
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Fargo desired to foreclose. The government provided Wells Fargo with a copy of the assignment

of the mortgage to Wells Fargo, obtained from the county recorder's office. The government

requested Wells Fargo, if it did not desire to foreclose, to remove its lien. Wells Fargo replied,

again stating that it was "unable to locate an account or other banking relationship for the named

property."1 Not true.

                 Understandably, the government did not accept this ludicrous response, and, upon

the government's motion, this Court ordered Wells Fargo to show cause why this Court should

not order Wells Fargo to remove its lien with respect to the Sorin Avenue property. The deadline

for a response passed without any action from Wells Fargo, and this Court entered an order

directing Wells Fargo to immediately remove its lien, but in no event later than March 2, 2010.

Wells Fargo, disregarding this Court's order, did nothing. On March 9, 2010, the United States

Marshals confirmed that the lien had not been removed.

                 On March 19, 2010, the Court scheduled a show cause hearing for April 7, 2010,

to determine if Wells Fargo should be held in contempt for not complying with this Court's

order. Specifically, this Court stated, in bold print, "[a]n authorized representative of Wells Fargo

is required to attend the hearing to show cause as to why Wells Fargo should not be held in

contempt."2 (Doc. No. 355 at p. 2.) On April 7, 2010, Wells Fargo failed to appear at the show

cause hearing. The Court, from the bench, began making telephone calls and leaving messages

for Wells Fargo's operations manager and legal process specialist to contact the Court



1
  That Wells Fargo was unable to discern its interest in the Sorin Avenue property after being provided with concrete
evidence of the relationship by the government is simply mind-boggling.
2
  The Court notes that service of the show cause order, and all other orders from this Court, was made upon the
operations manager and legal process specialist assigned to this matter by Wells Fargo, Wells Fargo's national legal
department, and Wells Fargo's Ohio corporate service company.
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immediately. Only then, a few hours later, did Wells Fargo ever respond to this Court's orders.

The Court invited the government to submit a proposed order recommending appropriate

sanctions. The government did so, but took "no position with respect to any sanctions the Court

may order [. . .]." (Doc. No. 356 at p. 1.)

               Apparently, unbeknownst to the government or the Court, Wells Fargo removed

its lien as to the Sorin Avenue property on March 31, 2010. While this action resolved the

underlying issue, neither the Court nor the government is clairvoyant and Wells Fargo never

informed either of its action, thereby resulting in an unnecessary hearing on April 7, 2010,

which, as indicated above, Well Fargo failed to attend.

   II.         LAW AND ANALYSIS

               "The inherent powers of federal courts are those which 'are necessary to the

exercise of all others.' The most prominent of these is the contempt sanction, 'which a judge must

have and exercise in protecting the due and orderly administration of justice and in maintaining

the authority and dignity of the court [. . .]." Roadway Express, Inc. v. Piper, 447 U.S. 752, 764

(1980) (internal citations omitted); Shillitani v. United States, 384 U.S. 364, 370 (1966) ("There

can be no question that courts have inherent power to enforce compliance with their lawful

orders through civil contempt."). "While the contempt power should not be used lightly, it is 'a

necessary and integral part of the independence of the judiciary, and is absolutely essential to the

performance of the duties imposed.'" Southern Elec. Health Fund v. Bedrock Servs., No. 3:02-

0309, 2005 U.S. Dist. LEXIS 43999, at *21 (M.D. Tenn. Nov. 18, 2005) (quoting Gompers v.

Bucks Stove & Range Co., 221 U.S. 418, (1911)).




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               "[A]ll orders and judgments of courts must be complied with promptly," Maness

v. Meyers, 419 U.S. 449, 458 (1975), and failure to comply can result in contempt findings.

Southern Elec., 2005 U.S. Dist. LEXIS 43999, at *21 ("Contempt proceedings are used 'to

enforce the message that court orders and judgments are to be complied with in a prompt

manner.'") (quoting Gompers, 221 U.S. at 450)). As a matter of law, "a command to the

corporation is in effect a command to those who are officially responsible for the conduct of its

affairs. If they, apprised of the writ directed to the corporation, prevent compliance or fail to take

appropriate action within their power for the performance of the corporate duty, they, no less

than the corporation itself, are guilty of disobedience, and may be punished for contempt." Elec.

Workers Pension Trust Fund of Local Union #58 v. Gary's Elec. Serv. Co., 340 F.3d 373, 379

(6th Cir. 2003) (quoting Wilson v. United States, 221 U.S. 361 (1911)).

               Wells Fargo's repeated and blatant ignorance of this Court's orders (not to

mention its repeated incompetence in its dealings with the government) is simply unacceptable

and warrants sanctions for contempt under Gompers, supra. Although Wells Fargo was never a

party to this action, it is not free to disregard orders from this Court, particularly when its actions

impact a proceeding before the Court. In order to avoid wasting even more judicial resources

with respect to this eminently avoidable situation, the Court has elected to forego setting another

show cause hearing and, instead, imposes the following sanctions:

               1.      Wells Fargo is hereby ADMONISHED for its course of conduct
                       in this matter.

               2.      Within thirty (30) days of the date of this Order, Wells Fargo's
                       General Counsel is required to personally review this Order and
                       the events leading to its issuance, and to certify the same to this
                       Court. The Court expects that General Counsel will address this

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                      matter and take the appropriate steps to avoid this type of situation
                      in the future.

               The Court trusts that General Counsel, who is presumably the head of Wells

Fargo's legal services department, will adhere to this "command to the corporation [which] is in

effect a command to those who are officially responsible for the conduct of its affairs." See

Gary's Elec. Serv. Co., 340 F.3d at 379.

                      IT IS SO ORDERED.

Dated: May 21, 2010
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE




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